                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PEDRO SANTIAGO-ESPINOSA                      : CIVIL ACTION
                                              :
                     v.                       : NO. 22-2677
                                              :
 WELLPATH MEDICAL, CORRECT                    :
 CARE SOLUTIONS, P.A. JOE                     :
 WALSH, DEPARTMENT OF                         :
 CORRECTIONS                                  :

                                          ORDER

       AND NOW, this 26th day of July 2022, consistent with our obligations to screen an

incarcerated person’s Complaint under 28 U.S.C. § 1915A after having permitted the incarcerated

person to proceed without paying the filing fees (ECF Doc. No. 5), and for reasons in the

accompanying Memorandum, it is ORDERED:

       1.     Plaintiff’s claims for damages under the Pennsylvania Constitution are

DISMISSED with prejudice;

       2.     Plaintiff’s remaining claims against all Defendants are DISMISSED without

prejudice for him to file an amended Complaint on or before August 31, 2022 if he can plead the

personal involvement of the physician’s assistant or a policy and custom of supervising entities

consistent with the accompanying Memorandum and claim more than mere medical negligence;

and,

       3.     The Clerk of Court shall not issue summons until further Order.



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                                                   KEARNEY, J.
